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                                                                                                      E-FILED
                                                                     Friday, 24 March, 2017 01:59:20 PM
                                                                           Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

RAFAEL TREUJELLO QUALLS,                              )
          Plaintiff,                                  )
                                                      )       Case No. 1:16-cv-01164-JES-JEH
v.                                                    )
                                                      )       Honorable Judge James E. Shadid
T-H PROFESSIONAL & MEDICAL                            )
COLLECTIONS, LTD.,                                    )       Magistrate Judge Honorable
           Defendant.                                 )       Jonathan E. Hawley


              DEFENDANT’S MOTION FOR SUMMARY JUDGMENT




       NOW COMES the Defendant, T-H PROFESSIONAL & MEDICAL COLLECTIONS,

LTD., a Nevada corporation ("Defendant"), by its attorney, DORIAN B. LASAINE, and for its

Motion for Summary Judgment, states as follows:



       1.     A plaintiff has the burden of establishing all necessary elements and must support

              each element "with the manner and degree of evidence required at the successive

              stages of the litigation."[...] At the pleading stage, general factual allegations of

              injury resulting from the defendant's conduct may suffice, for on a motion to

              dismiss we presum[e] that general allegations embrace those specific facts that are

              necessary to support the claim. In response to a summary judgment motion,

              however, the plaintiff can no longer rest on such mere allegations, but must set

              forth by affidavit or other evidence specific facts, which for purposes of the

              summary judgment motion will be taken to be true.” Lujan v. Defenders of
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     Wildlife, 504 U.S. at 561, 112 S.Ct. 2130 (1992).

2.   That in order to satisfy standing pursuant to Article III of the U.S. Constitution, a

     Plaintiff must allege injury-in-fact, or particularized concrete harm. Said harm is

     not necessarily implied by violation of a federal statute. See Spokeo v. Robins,

     136 S. Ct. at 1550 (2016) (“A violation of one of [a federal statute]’s procedural

     requirements may result in no harm.”). In Spokeo, the Supreme Court clarified

     the requirements for standing and noted that the injury must be concrete — that is

     "de facto ... it must actually exist." Id, at 1548. The Court elaborated that

     "concrete" is not necessarily "tangible," but a plaintiff cannot "allege a bare

     procedural violation, divorced from any concrete harm, and satisfy the

     injury-in-fact requirement of Article III." Id, at 1549.

3.   That courts have already begun dismissing cases determined to have failed the

     Spokeo test. See, e.g., Noble v. Nevada Checker CAB Corp., No.

     215CV02322RCJVCF, 2016 WL 4432685, at *4 (D. Nev. Aug. 19, 2016)

     ("Plaintiffs have no standing to complain of the putative technical violations of

     the statute alleged here, because the putative violations created no `concrete' harm

     of the type sought to be prevented by Congress, and Plaintiffs have not separately

     alleged any actual harm.")

4.   The Plaintiff, RAFAEL TREUJELLO QUALLS, alleges that the Defendant

     violated sections of the Fair Debt Collection Practices Act, 15 USC § 1692 et al

     (“FDCPA”), alleging specifically that the Defendant did not give the mini

     Miranda warning, i.e., disclosing its identity as a debt collector, and that the

     settlement offer made by the Defendant carried an “artificial and generically
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      stated” time restriction in order to coerce payment. (Plaintiff’s Complaint, paras.

      27 and 32.)

5.    The Plaintiff, in response to paragraph 5 of Defendant’s Requests to Admit,

      admitted that “(he) did not have the ability to pay the alleged subject settlement

      offer of $7,500 referenced in your Complaint.” See attached Requests to Admit

      and Plaintiff’s Responses.

6.    That, furthermore, Plaintiff has confirmed under oath that he had no assets or

      income at the time. See attached Deposition of Rafael Qualls, pg. 54.

7.    Given that the Plaintiff was unable to pay the settlement and was not in fact

      coerced into the settlement, the discussion of the settlement was merely academic,

      and any misunderstanding of the settlement’s terms on the Plaintiff's part caused

      no concrete harm to him, nor did it expose him to any risk of concrete harm.

8.    Likewise, the Plaintiff's allegedly not being told the mini Miranda did not cause

      any concrete harm.

9.    That the word "Collections" is in the name of the Defendant, which the Defendant

      read prior to making the phone call, and so the Plaintiff had actual notice that he

      was talking to a debt collector. (Plaintiff’s Complaint, para. 13.)

10.   That the question of whether Plaintiff understood he was talking to a debt

      collector is to be viewed through the eyes of the “least sophisticated consumer.”

      See Evory v. RJM Acquisitions Funding LLC, 505 F.3d at 774 (7th Cir. 2007)

      (“The standpoint is not that of the least intelligent consumer in this nation of 300

      million people, [...] but that of the average consumer in the lowest quartile (or

      some other substantial bottom fraction) of consumer competence.”)
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       11.     Even if, arguendo, the Plaintiff didn't -- or least sophisticated consumer wouldn’t

               -- understand that the Defendant was a debt collector, this lack of knowledge

               caused the Plaintiff no particularized concrete harm.

       12.     The Plaintiff has failed to allege with particularity any way in which said failure

               caused him concrete harm beyond costs and expenses of this litigation, confusion

               and unspecified “financial loss.” (Plaintiff’s Complaint, paras. 22-24.)

       13.     That allowing costs of litigation to qualify a Plaintiff for standing would

               essentially render that requirement moot and Plaintiff has not identified with

               particularity any “financial loss” to satisfy Article III standing.



       WHEREFORE, Defendant, T-H PROFESSIONAL & MEDICAL COLLECTIONS,

LTD., a Nevada corporation, respectfully requests this Honorable Court to enter judgment in its

favor, for attorney’s fees reasonable in relation to the work expended and costs as provided under

15 U.S.C. 1692k(a)(3), and for any further relief as this court finds just and equitable.



Respectfully submitted,


T-H PROFESSIONAL & MEDICAL COLLECTIONS, LTD.,
Defendant,


s/ Dorian B. LaSaine
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                                 CERTIFICATE OF SERVICE


I hereby certify that on March 24, 2017, I electronically filed the foregoing Rule 56 Motion for
Summary Judgment, with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:


Counsel for Plaintiff
Daniel M. Spector of Consumer Law Partners, LLC


and I hereby certify that I have mailed by United States Postal Service the document to the
following non CM/ECF participants:


Counsel for Plaintiff
Daniel M. Spector of Consumer Law Partners, LLC
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s/ Dorian B. LaSaine
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